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                                          U.S. Department of Justice

                                                       United States Attorney
                                                       Southern District of New York
                                                       The Silvio J. Mollo Building
                                                       One Saint Andrew’s Plaza
                                                       New York, New York 10007



                                                       October 15, 2020




By ECF

The Honorable Jesse M. Furman
United States District Judge
Southern District of New York
Thurgood Marshall United States Courthouse
40 Foley Square
New York, NY 10007

   Re:     United States v. Joseph Galdieri, Sr. and Joseph Galdieri, Jr., 19 CR 757 (JMF)

Dear Judge Furman,

         The Government respectfully submits this letter on behalf of the parties in response to the
Order of the Court dated October 13, 2020. Since the Order of the Court dated August 26, 2020,
which adjourned this case in contemplation of the parties discussing the possibility of a pre-trial
disposition after the defendants had advised that they did not intend to file any motions, the
Government has participated on multiple occasions in such discussions with both defendants.
Although those discussions have progressed materially, they remain ongoing, in part due to
pending litigation before the Second Circuit bearing on what constitutes a “crime of violence”
within the meaning of provisions within the United States Sentencing Guidelines that are relevant
here. For this reason and in light of the time that remains before it is possible to schedule a date
for trial in or about the first quarter of 2021 or thereafter, the parties respectfully request leave to
continue their discussions of a pre-trial disposition and an adjournment of the conference
scheduled for October 26, 2020 for approximately one month. With the consent of the defendants,
the Government also respectfully requests that the Court exclude time under the Speedy Trial Act
from today through the date of any granted adjournment of the conference pursuant to 18 U.S.C.
§ 3161(h)(7) on the basis that the interests of the defendants and the public in a speedy trial are
outweighed here by the ends of justice served by allowing the defendants to consider further the
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possibility of a pre-trial disposition, particularly amidst the circumstances of the ongoing national
emergency declared in response to the coronavirus pandemic.

                                                 Respectfully submitted,

                                                 AUDREY STRAUSS
                                                 Acting United States Attorney


                                           By:
                                                 Thomas John Wright
                                                 Assistant United States Attorney
                                                 (212) 637-2295

Enclosure: Proposed Order

cc: Amy Gallicchio, Esq. (Counsel to Defendant Joseph Galdieri, Sr.) (by ECF)
    Inga L. Parsons, Esq. (Counsel to Defendant Joseph Galdieri, Jr.) (by ECF)




     The deadline for the Court to "put in" for a trial in the first quarter of 2021 is November 15, 2020.
     Accordingly, if the case is adjourned for one month, it would preclude setting trial for the first
     quarter of 2021. Accordingly, unless and until the Court orders otherwise, the parties shall appear
     for a conference on November 9, 2020, at 4 p.m. Counsel shall confer and, no later than October
     21, 2020, file a joint letter advising the Court: (1) if all parties agree that trial should not be scheduled
     for the first quarter of 2021, in which case the Court will adjourn the conference to late November
     or early December (unless the parties believe a longer adjournment would be warranted, in which case
     they should say so); and (2) if the November 9th conference is held, whether it should be held
     in person or remotely and whether the Defendants would be able to participate in a remote
     videoconference (presumably using Skype for Business). The Court excludes time under the Speedy
     Trial Act between today and November 9, 2020, finding that the interests in excluding that time
     outweigh the interests of the Defendants and the public in a speedy trial because it will enable
     counsel and the Defendants to discuss and decide how to proceed given the current public health
     emergency. The Clerk of Court is directed to terminate ECF No. 69. SO ORDERED.




                                                             October 16, 2020
